orierpormwm@os] Case 1:08-cr-00522 Document 5 Filed 07/01/2008 Page 1 of 1
United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

Name of Assigned Judge Susa_n E_ COX Sitting lodge if Other
or Magistrate .ludge than Assigned Judge
CASE NUMBER 03 CR 522-1 DATE 7/1/2008
CASE United States of Arnerica vs. Benjarnin Gonzalez
TITLE
DOCKET ENTRY TEXT

 

lnitial appearance proceedings held. Defendant surrendered on 7/1/08. Pablo F. DeCastro is given leave t0
file his appearance as retained counsel for defendant Defendant informed of his rights. Order defendant
detained as a risk of flight pending preliminary examination and detention hearing Set for 7/3/08 at 1:30 p.m.

Docketing to mail noticcs.

 

 

 

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Courtroom Deputy VKD

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